                   UNITED STATES DISTRICT COURT
            FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        CHARLOTTE DIVISION


UNITED STATES OF AMERICA
       V.                                        CASE NUMBER: 3:05CR400(4)

JUAN LLAMAS


       THIS MATTER is before the Court on an Order of Remand, filed 3/17/10, from

the Fourth Circuit Court of Appeals for re-sentencing.

       NOW, THEREFORE, IT IS ORDERED that:

The Bureau of Prisons and the United States Marshals service is hereby ORDERED to

transport & produce the body of Defendant, JUAN LLAMAS (USM# 16432-097), for re-

sentencing before the honorable Frank D. Whitney, in the Western District of North

Carolina, Charlotte, North Carolina not later than October 1, 2010 and upon completion

of the re-sentencing hearing, Defendant is to be returned to the custody of the Bureau

of Prisons.

      The Clerk is directed to certify copies of this Order to the United States Attorney,

Defendant’s Counsel, the United States Marshal Service, and the United States

Probation Office.

      IT IS SO ORDERED.

                                             Signed: August 24, 2010




       Case 3:05-cr-00400-FDW       Document 373       Filed 08/24/10    Page 1 of 1
